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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


    WILLIAM ARCE, individually and on behalf       Case No. 2:21-cv-11741
    of all others similarly situated,
                                                   (Vazquez, J.)
                             Plaintiff,
                                                   Return Date: August 16, 2021
               - against -
                                                   AIG’S MOTION TO DISMISS
    TRAVEL GUARD GROUP, INC.,
    NATIONAL UNION FIRE INSURANCE                  ORAL ARGUMENT
    COMPANY OF PITTSBURGH, PA., and                REQUESTED
    UNITED AIRLINES, INC.,

                             Defendants.


        PLEASE TAKE NOTICE that on August 16, 2021, at 9:00 a.m., or as soon

thereafter as counsel may be heard, the undersigned attorneys for defendants Travel

Guard Group, Inc. (“Travel Guard”) and National Union Fire Insurance Company

of Pittsburgh, Pa. (“National Union”)1 will move before the Honorable John Michael

Vazquez pursuant to Fed R. Civ. P. 12(b)(1) and 12(b)(6) for the entry of an Order

dismissing the Class Action Complaint and Jury Demand of Plaintiff William Arce;

and




1
  Pursuant to Local Civil Rule 10.1(a), the address of Travel Guard’s principal
place of business is 3300 Business Park Dr., Stevens Point, Wisconsin 54482, and
the address of National Union’s principal place of business is 1271 Avenue of the
Americas, New York, New York 10020.
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      PLEASE TAKE FURTHER NOTICE that Plaintiff’s time to file an

opposition shall extend through and including August 2, 2021 and Travel Guard and

National Union’s time to reply to Plaintiff’s opposition, if any, shall extend through

and including August 9, 2021; and

      PLEASE TAKE FURTHER NOTICE that in support of this Motion, Travel

Guard and National Union shall rely upon the Memorandum of Law and Declaration

of Carlos F. Ortiz filed herewith, and all prior pleadings in this action; and

      PLEASE TAKE FURTHER NOTICE that at that time and place aforesaid,

Travel Guard and National Union will request that the proposed form of Order

submitted herewith be entered by the Court.

 Dated: New York, New York
        July 20, 2021                    /s/ Carlos F. Ortiz
                                         Carlos F. Ortiz
                                         Jane M. Byrne (pro hac vice pending)
                                         Guyon H. Knight (pro hac vice pending)
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                                         Attorneys for Defendants Travel Guard
                                         Group, Inc. and National Union Fire
                                         Insurance Company of Pittsburgh, Pa.




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                       CERTIFICATE OF SERVICE

      I, Carlos F. Ortiz, hereby certify that I served a copy of the foregoing

document electronically using the Court’s ECF System.



                                       /s/ Carlos F. Ortiz
                                       Carlos F. Ortiz




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